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EXHIBIT E
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August 4, 2010

VIA EMAIL (RICHARD.GODFREY@KIRKLAND.COM) AND
VIA FACSIMILE (312) 862-2200

Richard C. Godfrey, P.C.
Kirkland & Ellis LLP
300 North LaSalle Street
Chicago, Illinois 60654

Re: Deepwater Horizon Indemnities

Dear Rick:

As you know, I represent Halliburton Energy Services, Inc. ("Halliburton") in the
litigation arising from the Deepwater Horizon blowout and oil spill. Halliburton is in receipt of
your June 25, 2010 letter regarding BP's reservation of rights as to its defense and indemnity
obligations to Halliburton and its demand for indemnity from Halliburton as to certain personal
injury actions filed by Halliburton employees. Mr. Ferguson has asked me to respond to your
letter on Halliburton's behalf.

Starting on common ground, Halliburton generally agrees with your suggestion that BP
and Halliburton cooperate to expeditiously address and resolve the pending personal injury
lawsuits. Halliburton hopes for a just outcome for those injured on the Deepwater Horizon on
April 20, 2010, and their families.

Indemnity for and Defense of Pollution and Contamination Claims

Halliburton is disappointed with BP's refusal to acknowledge and accept its defense and
indemnity obligations under Clauses 19.4(a) and 19.6(b) of the Contract for Gulf of Mexico
Strategic Performance Unit Offshore Well Services Between BP Exploration and Production,
Inc. and Halliburton Energy Services, Inc. ("Contract"), effective April 15, 2009. While we
understand that your reservation of rights is preliminary and that BP is not yet taking a definitive
position, we do not agree and look forward to BP's acceptance of defense and indemnity
obligations in the near future.
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BP's duties to defend and indemnify Halliburton for the pending pollution and
contamination claims under Clauses 19.4(a) and 19.6(b) are plainly triggered by the allegations
contained in the various pollution/contamination lawsuits. BP should assume these obligations
now rather than, possibly, at some unspecified future time. Under Clause 19.4(a), for example,
BP agreed to defend and indemnify Halliburton "from and against any claim of whatsoever
nature arising from pollution and/or contamination including without limitation such pollution or
contamination from the reservoir or from the property or equipment of [BP] arising from or
related to the performance of the Contract." Similarly, BP agreed in Clause 19.6 to defend and
indemnify Halliburton "against all claims, losses, damages, costs (including legal costs) expenses
and liabilities resulting from . . . blowout, fire, explosion, cratering or any uncontrolled well
condition." And these provisions apply "notwithstanding the negligence or breach of duty
(whether statutory or otherwise) of [Halliburton] . . . and shall apply whether or not the claim...
is .. . predicated on sole, joint or concurrent fault, negligence (whether active, passive or gross),
strict liability, statutory duty . . . or otherwise at law... .." See Clause 19.7. Even if Halliburton
was In any way negligent, which it was not, such provisions are broadly construed by the courts:
"indemnity agreements 'should be construed to cover all losses, damages, or liabilities which
reasonably appear to have been within the contemplation of the parties." Brown v. Offshore Oil
Servs., Inc., 288 Fed. Appx. 922, 924-25 (5th Cir. 2008) (quoting Corbitt v. Diamond M. Drilling
Co., 654 F.2d 329, 332 (Sth Cir. 1981).

Halliburton does not agree that further investigation into the cause of the Deepwater
Horizon incident is a necessary precursor to determining BP's defense and indemnity obligations
to Halliburton. The factual allegations made by plaintiffs in the pollution and contamination
lawsuits plainly implicate these contractual provisions and trigger BP's duty to defend
Halliburton. See, e.g., Ingalls Shipbuilding v. Federal Ins. Co., 410 F.3d 214, 234 (5th Cir.
2005) (recognizing in the analogous insurance context that "the factual allegations in the
pleadings, along with the policy language, determine an insurer's duty to defend, and its duty to
indemnify is triggered by the actual facts establishing liability"). The obligation and duty to
defend under such contractual provisions is generally recognized as “black letter law”. BP’s
reservation of rights on the issue is accordingly unacceptable and clearly contravenes the
contracted for rights with respect to BP’s obligations.

The Contract provisions related to Halliburton's services that you cite do not nullify BP's
indemnity obligations. There are certainly other provisions in the Contract that apply to this
situation which are not cited in your letter. For example, see Clauses 4.4 and 29.3. Although
you state that "the facts may prove that Halliburton is obligated to defend and indemnify BP",
you fail to identify any facts or Contract provisions that would essentially shift to Halliburton
BP's defense and indemnity obligations for the pollution lawsuits. Clause 19.4(b) is plainly
inapplicable (i.e, these cases do not concern "pollution occurring on the premises of
[Halliburton] or originating from the property or equipment of [Halliburton] located above the
surface of the land or water") and no other Contract provision requires Halliburton to indemnify
BP in the circumstances presented here. If BP believes that any provision of the Contract
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requires Halliburton to defend or indemnify BP in the pollution or contamination cases, please
advise immediately.

Your suggestion that BP may escape its indemnity obligation if "Halliburton has
materially breached the Contract in respect to these matters" contravenes the explicit terms of the
Contract. As previously pointed out, BP's indemnity obligations exist "notwithstanding the
negligence or breach of duty (whether statutory or otherwise) of [Halliburton] or any other entity
or party." See Clause 19.7, Even assuming for the sake of argument that Halliburton was
negligent (which it was not), maritime law allows the indemnification of a party against the
consequences of its own negligence. See, e.g., Corbitt v. Diamond M. Drilling Co., 654 F.2d
329, 333 (Sth Cir. Unit A 1981). Further, an alleged material breach of the Contract (which
Halliburton denies) does not necessarily invalidate BP's indemnity obligations. Becker v.
Tidewater, Inc., 586 F.3d 358, 368 (5th Cir. 2009). Accordingly, your references to Clauses 4.2
and 4.3, and speculation as to some unspecified material breach, do not nullify BP's defense and
indemnity obligations. Such obligations continue notwithstanding any alleged breach. To the
contrary, however, BP’s failure to honor its defense and indemnity obligation would most
certainly be a breach of contract giving rise to various known and unknown damages, such as
interest on unreimbursed costs, loss of business and market capitalization due to the uncertainty
of the contractual protection, increased insurance costs, etc.

Likewise, BP cannot avoid its indemnity obligations with vague references to non-
specific gross negligence allegations. First, Halliburton was neither negligent nor grossly
negligent. Second, the issue of indemnity for gross negligence is unresolved. By its terms, the
contractual defense and indemnity requirement encompasses the gross negligence of the
indemnitee. Without first determining the applicable jurisdictional law, it is simply incorrect to
broadly state that indemnification for gross negligence is against public policy. In your letter,
BP does not identify any factual allegations suggesting that Halliburton was grossly negligent.
Unsupported speculation does not obviate BP's indemnity obligation or, more acutely, its initial
duty to defend based on the plain language of the pleadings.

Without providing any factual support, you also suggest that BP's indemnity obligation
may be impacted if Halliburton materially increased the risk or prejudiced the rights of BP. The
cases you cite are not on point as they involve situations in which the indemnitee specifically
knew of facts compromising the indemnitor's contractual rights and, perhaps fraudulently, failed
to convey such information to the indemnitor resulting in increased liability. Hiern v. St. Paul-
Mercury Indemnity Co., 262 F.2d 526, 529 (5th Cir. 1959) (applying Louisiana law where
indemnitee repeatedly made false assurances regarding securing assets being misappropriated by
co-indemnitor); General Ins. Co. v. Fleeger, 389 F.2d 159, 161 (5th Cir. 1968) (indemnitee
received notice of defaults by contractors but continued issuing bonds to those defaulting
contractors to detriment of indemnitor). BP has not identified any facts supporting its
speculation that Halliburton materially increased BP's risk or prejudiced its rights.

Halliburton asks BP to reconsider its reservation of rights with respect to Halliburton’s
request for indemnity. The relevant facts are sufficiently known that the obligation is clear and
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we believe that cooperation in the management of the litigation will ultimately result in a more
satisfactory resolution. Moreover, Halliburton has no inclination to, and sees no benefit in
having such issues addressed in the litigation forums under intense public scrutiny, further
adversely affecting our clients and their businesses. In the face of the Contract terms and
governing law, it would behoove us to refrain from aggressive lawyering in this instance and find
a mutually acceptable course through these issues while not additionally aggravating potential
liabilities. Accordingly, if BP maintains its indemnity position, it should, at a minimum, fulfill
its duty to defend Halliburton in the pollution and contamination cases based on the plain
language of the Contract and the allegations made. Halliburton has retained our firm to represent
it in the claims and suits in question. If BP accepts this tender of defense, Halliburton requests
our firm's continued representation.

Personal Injury Claims

Addressing the pending personal injury lawsuits, I want to again emphasize Halliburton's
agreement to cooperate with BP in its effort to arrive at a prompt and fair resolution of the
personal injury claims relating to the Deepwater Horizon incident. To that end, Floyd Hartley
and I will serve as Halliburton's liaison to coordinate the handling of the personal injury claims.
Since John Hickey has not contacted Mr. F erguson as was indicated in your letter, you or he can
now contact either Floyd or me at your convenience to discuss a viable approach to arriving at a
prompt and fair resolution of the personal injury lawsuits.

Halliburton accepts BP's tender of defense and indemnity of BP with respect to personal
injury claims by Halliburton employees, subject to our prior approval of the reasonableness of
any settlements. In that regard, Halliburton has already settled potential personal claims with
two of the four employees it had on the rig at the time of the blowout and obtained releases from
them that include BP and the other contractors. We also consent to the continued representation
of BP by Kirkland & Ellis LLP and Andrews Kurth LLP in the suits brought by the Halliburton
employees. The associated defense costs should be proportioned among all Plaintiffs in the
particular cases and upon presentation of support therefore, Halliburton will offset those against
defense costs owed to Halliburton by BP. However, Halliburton reserves the right to tender
these cases back to BP should evidence arise which indicates that the defense and indemnity
obligation is not owed.

If you have any questions or would like to discuss any aspect of the defense and
indemnity issues raised in our correspondence, please do not hesitate to call me.

Sincerely “9

Donald E. Godwin
